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 9       INSPECTION, SAN FRANCISCO BUILDING
         INSPECTION COMMISSION, and
10       SAN FRANCISCO PLANNING DEPARTMENT)
11

12                                    UNITED STATES DISTRICT COURT
13                                  NORTHERN DISTRICT OF CALIFORNIA
14                                            OAKLAND DIVISION
15        REGAN CARROLL TRUST, Regan                 Case No. C-07-2577 SBA
          Carroll, Trustee,
16                                                   REPLY MEMORANDUM OF POINTS
                       Plaintiff,                    AND AUTHORITIES IN SUPPORT OF
17                                                   MOTION TO DISMISS FIRST
                vs.                                  AMENDED COMPLAINT FOR LACK
18                                                   OF JURISDICTION AND FAILURE
          CITY AND COUNTY OF SAN                     TO STATE A CLAIM, TO STRIKE
19        FRANCISCO, SAN FRANCISCO                   THIRD COUNT OR, IN THE
          DEPARTMENT OF BUILDING                     ALTERNATIVE, FOR SUMMARY
20        INSPECTION, SAN FRANCISCO                  JUDGMENT
          BUILDING INSPECTION                        jFRCP 12(B)(1); 12(B)(6); 12(F), 56J
21        COMMISSION, and SAN FRANCISCO
          PLANNING DEPARTMENT,                       Hearing Date:   February 26, 2008
22                                                   Time:           1:00p.m.
                       Defendant.                    Place:          Courtroom 3 3 rd
                                                                                      Floor
23
                                                     Trial Date:     TBA
24

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     I
                   Defendant City and County of San Francisco (sued herein as the City and County of San
     2
          Francisco, San Francisco Department of Building Inspection, San Francisco Building Inspection
     3
          Commission, and San Francisco Planning Department; collectively               ‘City”)   submits this reply
     4
          memorandum of points and authorities in support of its motion to dismiss the First Amended
     5
          Complaint for Injunctive Relief and Damages for Violation of Civil Rights filed herein on October
     6
          30, 2007 (“Amended Complaint”) on the grounds that this Court lacks jurisdiction, the Amended
     7
          Complaint fails to state a claim, and the Third Count was filed without prior leave of court in
 8
          violation of the Federal Rules of Civil Procedure.
                                                        INTRODUCTION
10
                   The opposition brief filed by Plaintiff substitutes rhetoric for citation to facts or legal authority
11
         in support of Plaintiffs claims. Many of the City’s arguments supporting the motion are not addressed
12
         at all in the opposition, and are therefore conceded. While Plaintiff acknowledges that he must
13
         establish facts that “shock the conscience,” neither the Amended Complaint, nor any of the proposed
14
         allegations in the opposition, do so. As a result, his allegations do not rise to the level of a
15
         Constitutional violation, and the City’s motion should be granted without leave to amend.
16
                       SUPPLEMENTAL STATEMENT OF FACTS AND PROCEDURAL HISTORY
17

18                Since the City filed its motion to dismiss, but before Plaintiff filed its opposition brief, one of

19       Plaintiffs several related state cases has been resolved against Plaintiff. On December 5, 2007, the

20       San Francisco Superior Court heard oral argument in Superior Court Case No. CPF-06-506816.

21       [Supp. JUN at Exh. 1.] That case challenged the City’s actions with respect to the project at issue in

22       this case on the theory that the City had failed to issue Plaintiff a permit within the timelines

         prescribed by the Permit Streamlining Act, California Government Code
23                                                                                          §   65950. [See JUN at Exh.

24       5.]   Following the hearing, the Superior Court issued an order deciding that case, on the merits, in

25       favor of the City. [Supp. JUN at Exh. 1, p. 1.] In relevant part, the courts order held:
                         Although the PSA was enacted to expedite permit applications and clarify
26                       application requirements, nothing in it suggests that it was intended to protect a
                         developer who waits to invoke its protection until after a law is passed with
27                       which he does not want to comply. “[A] permit, license or other governmental
                         entitlement must conform to the law in existence at the time of its issuance or
28                      recordation rather than that in effect at the time of application or denial.”
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                          (Palmer v. Board ofSupervisors (1983)145 Cal. App. 3d 779, 781.) By
                          waiting to invoke the notice provisions of the PSA until after the Planning
                          Code amendments were adopted, Petitioner waived his right to obtain deemed
     2                    approved status under the Act.
     3                    The PSA cannot be interpreted to overcome the rule that “[l]ocal government
                          agencies are powerless to issue land-use permits which are inconsistent with
 4                        governing legislation.” (Land Waste Management v. ontm Costa County Bd.
                          ofSupervisors(1990) 222 Cal. App. 3d 950, 959 (emphasis in original).)
                          “Govenmient Code section 65950 .was not meant to impose a rigorous
                                                                . .


                          timetable on local government’s exercise of its policy-making legislative
     6                    function.” (Id. at 957, fb. 2.) Moreover, “local government entities cannot
                          issue land-use permits that are inconsistent with controlling land-use
                          legislation.” (Id.) Petitioner admits the Property is in an historic district, and
                          that the Planning Code as it exists today requires that projects located in the
 8                        district must obtain a COA. (Planning Code § 1006.) Any permit issued in
                          violation of the Planning Code, including the provisions of Article 10
 9                        applicable to historic districts, is legally invalid. (S.F. Building Code
                          106.4.3.) Because the permit in question requires a COA and updated CEQA
                                                                                                    §
10                        review before it can be lawfully issued, deemed approval under the PSA would
                          violate both local law and CEQA. The permit is therefore “inconsistent with
11                        governing legislation” and cannot be issued by operation of law pursuant to the
                          PSA.
12

13                       Petitioner in this case seeks a permit which is “inconsistent with controlling
                         land-use legislation” and which therefore cannot be issued. The Dogpatch
14                       ordinance requires a COA before the permit can be issued, and the Building
                         Code mandates that any permit issued in violation of the Planning Code is
15                       legally invalid. Therefore, in order for Petitioner’s permit to be legally issued
                         without first obtaining a COA, it would require a change in the controlling
16                       land-use legislation. Petitioner’s claim thus fails.
17
                         Until a permit is finally granted, all reviewing administrative agencies and
                         courts must apply the Planning Code in effect at the time of review. The
                         California Supreme Court has long held that “one who is not yet armed with a
19                       presently effective municipal license to proceed with construction must assume
                         the risk that, ‘before final action [has] been taken on [his] application’ [citation
20                       omitted], the law might be changed so as to require that his application be
                         denied.” (Russian Hill Imp. Ass’n v. Board ofPerm it Appeals of City and
21                       County of San Francisco (1967) 66 Cal.2d 34, 40.) Here, the City could not
                         issue a permit until all addenda were approved, and Petitioner complied with
22                       the Planning Code provisions relating to construction in an historic district. As
                         a consequence, Petitioner is not entitled to a “deemed approved” permit
23                       pursuant to the PSA.
24
         [Id. at Exh. 1, pp. 5-9.]
25                                                     ARGUMENT
26       1.      THE COURT SHOULD DENY PLAINTIFF LEAVE TO AMEND.

27               Plaintiff effectively concedes that his Amended Complaint fails to state a claim by
28       commencing his opposition with (and dedicating nearly 20% of its pages to) a request for leave to
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 amend. After offering proposed amendments, Plaintiff erroneously argues that this Court can only
 grant the City’s motion on the substantive due process claim “if the proposed second amended

 complaint is conceded to be true but yet does not shock the conscience or single Carroll out for

 wrongful treatment without rational basis.’     [Opp. at 8:8-12.]   In fact, however, the Court cannot
 consider “new” facts alleged in Plaintiffs opposition brief in determining whether to dismiss
                                                                                               this
 action, and thus such allegations are irrelevant for purposes of deciding whether to grant or deny this

 motion. Schneider v. calfornia Dept of corrections, 151 F.3d 1194, 1197          (
                                                                                  t
                                                                                  9 h
                                                                                        Cir. 1998). In any
 event, as shown below, even accepting Plaintiffs proposed amendments as true (they are not),
                                                                                              the
 conduct alleged does not meet the threshold requirements to support Plaintiffs
                                                                                        § 1983   claims.
        As noted in Defendant’s opening brief, Federal Rule of Civil Procedure 12(b)(6) provides that

 a motion to dismiss should be granted if it appears beyond a doubt that the plaintiff “can prove no
                                                                                                     set
of facts in support of his claim which would entitle him to relief.” Conley v. Gibson, 355 U.S. 41,
                                                                                                    45-
46(1957). Although the facts alleged by Plaintiff are assumed true under a motion to dismis
                                                                                            s, the
Court is not required to accept as true unwarranted deductions or unreasonable inferences, or

conclusory legal allegations cast in the form of factual allegations. See Manufactured Home

Co,nrnu,zities Inc. v. Cit) ofSan Jose, 420 F.3d 1022, 1035 (9th Cir. 2005); Western Mining Counc
                                                                                                  il
v. Watt, 643 F.2d 618, 624 (9th Cir. 1981). Plaintiff offers unsupported speculation and conjecture

regarding the alleged motives of City personnel (none of whom he alleges participated in the

decisions being challenged), and the arguments of counsel, in support of Plaintiffs request for
                                                                                                leave
10 amend. In lieu of responding to Defendant’s initial motion to dismiss. Plaintiff amended his

complaint without adding any new allegations to cure the defects outlined in the City’s motion.

Rather, the allegations of the first complaint were left virtually intact, and no new facts were
                                                                                                 alleged
in support of the original claims for relief.’   Instead, Plaintiff offered a supplemental claim for relief

          See generally Amended Complaint at 5 (correcting the year from 1999 to 2000 and changi
the word “successor” to “predecessor”; 7 (correcting the code section referred to from 312 to 311); ng
                                                                                                      10
(adding the words “afier business hours”); 13 (adding the words “the” and “Planning”); 14 (addin
                                                                                                    g
“Plaintiff was never notified of Moses Corrette’s action, although this occurred several weeks
                                                                                                prior to
the presentation of the Certificate by Plaintiff.”). 17 (adding “As a result, DNA has acted under
                                                                                                  the
color of state law and there is such a nexus between Defendants and DNA that the action of the
                                                                                                  DNA
can be considered and treated as the actions of Defendants); 20 (correcting typographical errors)
                                                                                                  ; 21
(continued on next page)
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      1    asserting a new legal theory based in part on alleged facts, which, according to Plaintiff, have
     2     occurred since the initiation   of this action.   In opposition to the instant motion, Plaintiff now claims
     3     that he can state facts that would cure any defects in his claim.

     4               Plaintiff assures the Court that “this is not a mn-of the mill development dispute, an argum
                                                                                                                  ent
     5     over whether an interpretation was proper, or even whether the Planning Department followed
                                                                                                       the
     6     law. Instead, it is about the abject abuse of government power to clamp down on a disfavored person
     7     whom the local neighborhood governing group hates and wishes to injure.” [Opp. at 2:22-27.]
                                                                                                       In
     8     support of this thesis of persecution, Plaintiff offers allegations that designation of the Dogpatch

     9     Historic District was “initiated by DNA” rather than the City. [Opp. at 3:13-15.] This “fact,” even
                                                                                                               if
 10       proved, would not support his claims. He similarly suggests that “DNA did not foliow the
                                                                                                   U.S.
 11        Secretary of Interior’s standards in the creation of the distric
                                                                    2       t.” He then complains generally that his
 12       property was included within the historic district [Opp. at 3:19-22), recites an alleged confrontation

13        with his neighbors (not the City) in 1999 six years before the City’s conduct alleged in the Compl
                                                                                                             aint
14        in which his neighbors argued that they would “force the [then-existing on-site] structure to be
15        preserved” (which it was not) [Opp. at 4:5-16], and recounts yet another conflict between Plainti
                                                                                                            ff
16        and his neighbors (again, not the City) over the destruction of a neighborhood dog. [Id. at 4:1 7-5:3.]
17        In connection with this last alleged conflict with his neighbors, Plaintiff offers the spurious and
18        irrelevant allegation that the City Attorney—who he has not and does not now allege participated
                                                                                                           in
19        any way in the decisions being challenged—confronted Plaintiff over his behavior. [Ibid.] Plainti
                                                                                                            ff
20        then speculates that the DNA “has become even more politically connected” (offering no facts
                                                                                                       to
21        support this or exampies of the effect of this “connection”), and that the City “wrongifilly” issued
                                                                                                               a
22        stop-work order for his Project that, interestingly, Plaintiff has not challenged n this action. [Id.
                                                                                                                at
23

24
          (footnote continued from previous page)
25        (adding “and plainly” “and capricious”); and 22 (adding “Any Proffered rational basis by Defendants
          for their conduct is a pretext”).
26               2
                   This allegation is nonsensical on several levels, including the fact that the District was
          designated by the City’s Board of Supervisors, not the DNA, pursuant to Planning Code 1004
27
          (delegating authority to designate historic districts to Board of Supervisors).             §
28
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     1    5:4-12.] As demonstrated below, none of these allegations, even if the Court were permitted to

     2    consider them in deciding the instant motion, would support the claims asserted in this case.

     3            Plaintiff has not alleged facts sufficient to support his claims in this matter despite two

     4    attempts, and has not demonstrated with his proposed amendments that he could ever do so. As
                                                                                                       a
     5    result, Plaintiff is not entitled to leave to amend. In short, the Court need not “swallow the plaintiffs

     6    invective hook, line and sinker; bald assertions, unsupportable conclusions, periphrastic

     7    circumlocutions, and the like need not be credited.” Aulson v. Blanchard, 83 F.3d 1, 3         (Vt    Cir. 1996);
     8   Martinez v, Goddard, 521 F.Supp.2d 1002, 1011(2007); Muhammad v. U.S. DepL ofHousing and

     9    Urban Dev., 2006 Westlaw 2598015 (2006); Adams v. Vidiera, 2001 WL 277966 (N.D. Cal. 2001).
10
         II.      PLAINTIFF HAS FAILED TO STATE A CLAIM UNDER 42 U.S.C. §1983.

                  A.        PLAINTIFF’S SUBSTANTIVE DUE PROCESS CLAIM FAILS AS A MATTER
12                          OFLAW.

13                Perhaps in recognition of the admitted “uphill battle” Plaintiff faces as a matter of law in
14       opposing this motion, the opposition brief repeatedly conflates the legal standards adopted for
15       evaluating due process and equal protection claims. The attempt to elide passages from equal

16       protection case law in support of his due process claim muddies the waters, but does not bolster
                                                                                                          the
17       claim in any respect. As set forth below and in the City’s moving papers, Plaintiff has not        —   and
18       cannot   —   state a claim for violation of his substantive due process rights on the facts alleged.
19
                            1.     Neither the Complaint, Nor Plaintiff’s Proposed Amendments,
20                                 Establish “Targeted Governmental Conduct.”

21                The rhetoric of counsel notwithstanding, neither the Complaint, nor Plaintiffs opposition,
22       establishes facts supporting their theory that the City targeted Plaintiff for unfair treatment. Instead,

23       the Amended Complaint clearly establishes the following: Plaintiffs permit application remained

24       pending, as a result of a variety of factors, from 1999 through 2005. [Amended Complaint at “‘5-1
                                                                                                           0.1
25       In 2003, the Planning Code was amended to reflect the designation of the Dogpatch Neighborhood as
26       an historic district subject to Department of the Interior design guidelines. [See City MPA at 5.] In
                                                                                                       p.
27       connection with this designation, § 1006 of the Planning Code requires that all development in the
28       district be reviewed for consistency with those guidelines by means of a Certificate of
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     1   Appropriateness (a “COA”). [Ibid.] Plaintiff never applied for a COA. [See generally Amended

 2       Complaint.] After initial Planning and Building Department approval but before Plaintiff’s permit
 3       was issued, a member of the public (also allegedly a member of the DNA) inquired as to whether the

 4       Project had received a COA. [Id. at ¶10.) Following a review of the file, Planning staff determined

 5       that the Project had not been reviewed through a COA as required by law and, as it was required to

 6       do, the City therefore refused to issue the noncomplying permit. [Supp. RIN at Exh. 1.1 None of the

 7       rhetoric offered to defeat this motion can create a civil rights violation out of a legally mandated

 8       outcome. Building Code      §   106.4.3; Planning Code §l005, 1006. [See, also, Supp. RJN at Exh. 1.]
 9               Nor do the cases cited by Plaintiff hold otherwise. Although Plaintiff cites the case of
10                                                     (
                                                       1
                                                       7 h
         Albiero v. City ofKankakee, 246 F.3d 927            Cir. 2001) in support of his substantive due process
11       claim, that case was not a substantive due process case at all, but a ease alleging the violation of
12       plaintiffs equal protection rights. 246 F.3d at 931. As a result, it has no bearing on Plaintiffs first
13       count. (But see Section 11(B), below, for applicability to the equal protection claim.) Plaintiffs

14                                                      (7t
         citation to Belly. Duperrault, 367 F.3d 703          Cir. 2004)— another equal protection case           in
15       support of his substantive due process claim is equally inapposite. [See Opp. at 7:19-24.]
16               Similarly, the case of Colliery. Town ofHarvard, 1997 WL 33781338 (D. Mass. 1997), is
17       not helpful to Plaintiffs cause. There, plaintiffs alleged a course of conduct in which numerous
18       public officials repeatedly denied their development permit applications. In particular, one defendant

19       (DeBoalt) was alleged to have repeatedly attempted to either purchase plaintiffs’ property, or acquire

20       an interest in that property, as a quid pro quo to voting in favor of the zoning relief plaintiffs sought.

21       Id. at *13. Plaintiffs alleged that their substantive due process rights were violated “because the
22       zoning officials and defendant DeBoalt, in effect, used their official status to attempt to coerce them

23       into granting DeBoalt an easement.’ Id. at *5 The court’s discussion of the heavy burden borne by a
24       plaintiff alleging violation of substantive due process rights in the land use context is instructive.

25                      The First Circuit has identified two alternative tests used by the Supreme Court
                        to analyze substantive due process questions. “Under the first theory, it is not
26                      required that the plaintiffs prove a violation of a specific liberty or property
                        interest; however, the state’s conduct must be such that it shocks the
27                      conscience. To succeed under the second theory, a plaintiff must demonstrate a
                        violation of an identified liberty or property interest protected by the due
28                      process clause.” [Citations.] To avoid summary judgment under the first
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                          theory, a plaintiff must demonstrate that the defendant’s “action was ‘in and of
                          itself egregiously unacceptable tori outrageous.” [Citations.]
                                 ...




     2                    In the land-use context, I note that this threshold is demanding. Indeed, the
                          First Circuit has long been reluctant to apply substantive due process analysis
     3                    to alleged violations in the local planning and development process. [Citation.]
                          “[R]ejections of development projects and refusals to issue building permits do
     4                    not ordinarily implicate substantive due process.” PFZ Properties, Inc. v.
                          Rodriguez, 928 F.2d 28. 31(1st Cir. 1991), cert. dismissed, 503 U.S. 257
     5                    (1992). Instead, these matters are best resolved by state and local boards: [j
                          ‘To apply it to claims like the present [one for denial of permits for
     6                   construction of waste disposal facilities and a residential facility,] would be to
                         insinuate the oversight and discretion of federal judges into areas traditionally
     7                   reserved for state and local tribunals. Clearly, it is no simple matter to decide
                         what abuses to regard as abuses of ‘substantive’ due process. Every litigant is
     8                   likely to regard his own case as involving such an injustice. Thus, we have
                         consistently held that the due process clause may not ordinarily be used to
     9                   involve federal courts in the rights and wrongs of local planning disputes.’
 10                      [Citation.] Because local and state boards are “closer to the situation,” they-
                         and not federal courts-are “better equipped to provide relief” Thus “the
 11
                                                                                          []
                         threshold for establishing the requisite ‘abuse of government power’     is a high
                         one indeed.” [Citation.]
 12
         Id. at *4_5 Nevertheless, the court noted that the First Circuit has “left the door slightly ajar
13                                                                                                         for
         federal relief [based on substantive due process] in truly horrendous situations.” Ibid. “The crucial
14
         question here, then, is whether the plaintiffs’ claims can pass through this modest openin
15                                                                                                  g. To
         preclude summary judgment, the plaintiffs must demonstrate why ajury could find that the
16
         defendants’ conduct was truly horrendous, and that it amounted to more than a state law violati
17                                                                                                       on.’
         [Citation.] Ultimately, the court concluded that substantive due process requires that permit
18
         applicants be free from the type of coercion alleged by plaintiffs under color of state law.
19                                                                                                    [Ibid.]
                 Plaintiff in the present case has not alleged comparable facts. He does not accuse City
20
         officials of refusing to issue his permit as a pretext to acquire the property for themselves. Rather
21                                                                                                             ,
         the City enforced a law of general applicability in a manner that Plaintiff felt was detrimental
22                                                                                                        to his
         project. [Amended Complaint at ¶J 15.] That the City allegedly did so following a phone
23                                                                                               call from a
         member of a neighborhood association inquiring as to whether Plaintiff had complied with
24                                                                                                the
         Planning Code (which he had not) does not create a violation of substantive due process.
25
         Plaintiffs discussion of the Chiplin and Creative Environments cases, discussed in the City’s movin
26                                                                                                           g
         papers, also fall wide of the mark. In Chiplin, the court found that plaintiff had failed to slate
27                                                                                                          a claim
         for violation of substantive due process. Chiplin Enterprises, Inc. v. City ofLebanon, 712 F.2d
28                                                                                                       1524,
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 1   1527-29 (C.A. N. H. 1983). The language quoted by Plaintiff reflects the court’s concern that the trial

 2   court had dismissed the complaint not for failure to state a claim, but for lack ofjurisdiction. Id. at

 3   1528. However, based on the analysis cited in the City’s brief, the court concluded that “the fact

 4   remains that Chiplin has failed to state a claim on which relief can be granted. Dismissal was proper,

 5   but it should have been pursuant to defendants’ motion under Rule 12(b)(6) rather than 12(b)(1).” Id.

 6   at 1529. Here, the City has cited the Chiplin case in support of its 12(b)(6) motion, not on the theory

 7   that the Court lacks jurisdiction over this claim. [See City MPA at p. 10.1

 8          The City has previously addressed the failings of Plaintiffs’ allegations in the Amended

 9   Complaint, and will not repeat those arguments here. However, Plaintiff draws the Court’s attention

10   to several allegations, to no avail. Plaintiff points to his allegation that the City “refused to determine

11   whether his Application was complete unless DNA approved it,” but the Amended Complaint alleges

12   that the Application was “determined to be complete” in 2001. [Amended Complaint at ¶7.] There is

13   no allegation that DNA ever “approved” the Application. The fact that a member of the public

14   contacted the Planning Department regarding the status of a permit, afier which the Planning

15   Department determined —correctly according to the Superior Court      —   that the permit could not

16   lawfully be issued, does not create a violation of due process. Nor does the fact that a member of the

17   Planning Department allegedly “played an inside role in the designation of Dogpatch as historic.”

18   [Opp. at 9:20-22.] Plaintiff does not explain why it is surprising or suspicious that a member of the
19   Planning Department, whose job it was to participate in such actions as the designation of an historic

20   district, in fact did so. Nor does that participation cast any doubt on his motives when he

21   subsequently performed his job duties by reviewing the building application and determining that it

22   did not, in fact, comply with the law.

23                  2.      Plaintiff is Collaterally Estopped from Asserting the Permit Streamlining
                            Act and California Environmental Quality Act Arguments.
24
            In opposition to the City’s motion to dismiss Plaintiff’s unlawful delegation claim, Plaintiff
25
     offers the argument that government conduct that “[dieprives Carroll of a [pjermit to [wihich he is
26
     [e]ntitled” violates substantive due process.” [Opp. at 10-14.1 This argument has two prongs. First,
27
     Plaintiff argues that the City violated California’s Permit Streamlining Act (“PSA”), Government
28
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     1    Code   §   65920 et seq., by failing to issue his permit within statutory timelines. [Ibid.] Next, Plaintiff
     2    conflates various legal principles of the PSA and the California Environmental Quality Act

     3    (“CEQA”) to argue that the City is forbidden to require additional review of his project under CEQA

     4    because the designation of an historic district is not, according to Plaintiff, “a new significant

     5    environmental effect requiring an updated negative declaration.” [Id. at 12 12:27-28.] These

 6       arguments were not raised in the Amended Complaint [Compare Amended Complaint at
                                                                                                       pp. 5-6], but
     7   are raised for the first time in this action in opposition to the City’s motion to dismiss. Fortunately,
 8       the Court need not reach these issues, because Plaintiff has already had his day in court.

 9                 th Superior Court Case No. CPF-06-506816, Plaintiff asserted these precise arguments against
10       the very same defendant. [Supp. RJN at Exh. 1.] Plaintiffs arguments were resoundingly, and

11       correctly, rejected. This Court is bound by the doctrine of res judicata to reject these arguments in
12       support of Plaintiffs clainm. The doctrines of res judicata and collateral estoppel may properly be
13       raised via a motion to dismiss for failure to state a claim under Rule 1 2(b)(6). See Azadpour v. Sun

14       Microsystems, Inc., 2007 WL 988185,        *
                                                        34 (N.D. Cal. 2007); see also Thompson v. county of
15       Franklin, 15 F.3d 245, 253 (2d Cir. 1994) (res judicata challenges may properly be raised via a

16       motion to dismiss for failure to state a claim under Rule 12(b)(6)); Day v. Moscow. 955 F.2d 807, 811
17       (2d Cir. 1992) (res judicata, normally an affirmative defense, may be upheld on a Rule 12(b)(6)

18       motion “when all relevant facts are shown by the court’s own records”).

19                Federal courts are bound by 28 U.S.C.     §   1738, to give “full faith and credit” to judgments and
20       orders of state courts. “Section 1738 does not allow federal courts to employ their own preclusion
21       rules in determining the preclusive effect of state judgments. ‘Rather, it     ...   commands a federal court
22       to accept the rules chosen by the State from which the judgment is taken.” Matsushita Elec. Indus.

23       Co.   v. Epstein, 516 U.S. 367, 373 (1996). The doctrines of collateral estoppel and res judicata apply

24       in a § 1983 case, so long as the party against whom an earlier court decision is asserted had a full and

25       fair opportunity to litigate the issue decided by the first court. Allen v. McCurry, 449 U.S. 90, 101
26       (1980). Federal courts “give the same preclusive effect to state court judgments that those judgments
27       would be given in the courts of the State from which the judgments emerged.” Lance                i’.   Dennis. 546
28       U.S. 459, 466.
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 1          In this case, Plaintiff attempted to rely on the PSA and CEQA to assert that the City’s refusal

 2   to issue a permit was unlawful. Those arguments were fully briefed and argued by the parties, and

 3   the issues were decided against Plaintiff by the state court. [See Supp. RJN at Exh. 1.] As a

 4   consequence, Plaintiff may not rely on those arguments to defeat the City’s motion to dismiss.

 5
            B.      TIlE AMENDED COMPLAINT FAILS TO STATE A CLAIM FOR DENIAL
 6                  OF EQUAL PROTECTION.

 7          In response to the City’s motion to dismiss the equal protection count of the Amended

 8   Complaint for failure to state a claim, Plaintiff once again misstates the legal standards governing this

 9   Court’s review, and suggests that the Court can deny the City’s motion on the basis of the “new facts”

10   offered in the brief   [Opp. at 14:3-5.]   The Court is, in fact, precluded from considering such facts in

11   making its determination on the merits of the City’s motion. Schneider v. Cat(fornia Dept. of

12   Corrections, supra, 151 F.3d at 1197. Plaintiff then argues that “[n]o other Dogpatch-area applicant

13   has had its permit pulled back after hours,” and that “Planning treated him differently from other

14   people who’s [sic] permits required only pickup because he had displeased DNA. There certainly was

15   no rational basis for Corette’s conduct.” [Opp. at 14:6-11.] It is telling that Plaintiff has offered no

16   new allegations to support these conclusory statements. [See ii at 3-5 (“Proposed Amendment”).] In

17   fact, Plaintiff has not offered a single new allegation establishing that the City applied this law of

18   general applicability inconsistently to any other developer in the neighborhood. That is, he has not

19   alleged, for good reason, that other parties wishing to construct buildings in the Dogpatch Historic

20   Neighborhood have been exempted from the requirements of Planning Code           §   1005 and 1006.

21          The conduct complained of here was the Planning Department determination to reassert

22   jurisdiction over a permit upon learning that it had not been reviewed for compliance with the historic

23   district requirements by submission of a COA. [Amended Complaint at ¶J15; RJN at Exh. 4.] The

24   City explained the rational basis for that decision in its moving papers. [City MPA at pp. 14-16.]

25   That analysis has been adopted by the Superior Court following full briefing and argument of the

26   parties, and cannot be revisited by Plaintiffs here. Nor does Plaintiffs citation to Northeastern

27   Florida Chapter ofAssoc. Gen. Contractors ofAtnerica v. City ofJacksonville, 508 U.S. 656, 666

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 1   (1993) rescue their claim from the fatal flaw that the challenged conduct had a rational basis—the

 2   permit, if issued, would have been invalid as of the date of issuance. [See Supp. RJN at Exh.           1.1
 3          In order to state a claim for violation of equal protection rights,

 4                  the plaintiff must demonstrate that the government is treating unequally those
                    individuals who are prima facie identical in all relevant respects      and that the
                                                                                          ...



 5                  cause of the differential treatment is a “totally illegitimate animus toward the
                    plaintiff by the defendant.” [Citation.] If the “defendant would have taken the
 6                  complained-of action anyway, even if it didn’t have the animus, the animus
                    would not condemn the action.” [jIll will must be the sole cause of the
 7                  complained-of action. [1 A showing of “uneven law enforcement,” standing
                    alone, will not suffice. []
 8
     Albiero, supra, 246 F.3d at 932. Plaintiff has not offered any allegations establishing that the City
 9
     differentiated in its enforcement of Planning Code § 1006. He cannot allege that the City has failed to
10
     enforce the law as against other project applicants (that is, that the City would not have enforced the
11
     law but for the alleged animus against him), and thus his claim fails.
12
            Plaintiffs reliance on the Genesis case is also unpersuasive because of Plaintiffs failure to
13
     offer any facts establishing even the first prong. of the test stated in that case for establishing an equal
14
     protection claim: differential treatment as compared to similarly situated project applicants. Genesis
15
     Environmental Services v. San Joaquin Valley Unified Air Pollution Control Dist., 113 Cal.App.4tI
16
     597, 606 (2003).
17
            Plaintiffs arguments, appearing at pages 15-16 of the opposition and citing and attempting to
18
     distinguish Wells Fargo Bank v. Town of Woodside, 33 Cal.3d 379 (1983) and Selby Realty Co. v.
19
     City ofSan Buenaventua, 10 Cal.3d 110, 125 (1973), were raised and expressly rejected by the
20
     Superior Court, and Plaintiff is collaterally estopped from raising them again here. [See Supp. RIN at
21
     Exh. 1.1
22
            Attempting to salvage the equal protection claim, Plaintiff then argues that Planning Code
23
     § 1006 “is not a zoning ordinance” because   “simply regulates aesthetics.” [Opp. at 16:25-17:2.] This
24
     unsupported rhetoric does not appear to be tied to any particular legal argument relevant to the equal
25
     protection analysis. In any event, it is wrong. As the California Supreme Court recently reiterated:
26
                    “Although cities may not use zoning powers to regulate economic competition
27                  [j, it is also recognized that land use and planning decisions cannot be made in
                    any community without some impact on the economy of the community. As
28                  stated in Metromedia, Inc. v. City ofPasadena [(1963)] 216 Cal.App.2d 270
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                            [), ‘Today, economic and aesthetic considerations together constitute the nearly
 1                          inseparable warp and woof of the fabric upon which the modem city must
                            design its future.’ Taking cognizance of this concept we perceive that planning
 2                          and zoning ordinances traditionally seek to maintain property values, protect
                            tax revenues, provide neighborhood social and economic stability, attract
 3                          business and industry and encourage conditions which make a community a
                            pleasant place to live and work. Whether these be classified as ‘planning
 4                          considerations’ or ‘economic considerations,’ we hold that so long as the
                            primary purpose of the zoning ordinance is not to regulate economic
 5                          competition, but to subserve a valid objective pursuant to a city’s police
                            powers, such ordinance is not invalid even though it might have an indirect
 6                          impact on economic competition.

     Hernandez v. City ofHanford, 41 Cal.4th 279 (2007).
 8
                    Plaintiffs final argument, that Planning Code § 1006 does not, in fact, require project

     applicants to apply for a COA, is based on a blatant misreading of the code section. “Conformity’
10
     with the COA requirements is, in fact, required before a building permit can be issued for a project

     governed by the section. See Planning Code § 1006 [“A Certificate of Appropriateness shall be

     required and shall govern review of permit applications.... ,, 1. It is astonishing that Plaintiff then
12          .
                                                   .                       .       .   .    .




13
     points to his       OW??       inaction (refusal to submit an application for a COA) as evidence of the City’s lack
14
     of a rational basis to support its enforcement of § 1006. Plaintiffs amended complaint does not allege
15                                         .
     that he had filed the requisite application but that the City refused to act upon
                                               .           .       .



                                                                                                 it   and thus the point of
16
     this argument is somewhat of a mystery.
17
     III.           PLAINTIFF’S §1983 CLAIMS ARE BARRED BY THE STATUTE OF
18                  LIMITATIONS.
19
                    Plaintiff provides no legal argument at all in response to the City’s motion on the grounds of
20


     the statute of limitations. As set forth in the City s moving papers, to the extent that the Amended
                                                                               .
                                .     .                                .




21
     Complaint relies on the alleged refusal of the City to deem the Application complete until the DNA
22
     “approved it,” that claim accrued no later than 2001. [City MPA at pp. 16-17.) The only subsequent
23
     act by the City that was allegedly informed in any way by DNA was its legitimate enforcement of the
24                          .
     Planning Code in response to an inquiry as to whether the Code had been complied with. Since
                .                                      .       .




25
     Plaintiff cites no authority for the proposition that this enforcement of applicable law rises to the level
26
     of a civil rights violation, he should be deemed to have conceded this ground of the City’s motion.
27
     CfFed. Rule Civ. Proc. §56(e)(2).
28
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      IV.    RES JUDICATA AND COLLATERAL ESTOPPEL BAR PLAINTIFF’S CLAIMS.

 2           Plaintiffs arguments in response to the City’s invocation of res judicata and collateral estoppel

      are belied by his own actions. The opposition brief claims that “Carroll is not challenging a City

 4   administrative decision.” [Opp. at 18:23-25.] If he were, the argument goes, “he would simply file a

      state court writ of administrative mandate.” [Id. at 19:1-3.] In fact, (hails exactly n/jut Plaintiff did.

 6    [See RJN at   ¶ 4-10,   Exhs. 4-10.] There lies his problem. The first state court action, which

     challenged precisely the conduct that is at the center of the instant case, was filed on September 12,

     2006, and Plaintiff filed a request for dismissal of that action on July 5, 2007. [Id. at
 8                                                                                             ¶ 4, 10 and
     Exhs. 4, 10.] The statute of limitations governing such an action has run, and thus Plaintiff cannot

10   cure his failure to exhaust state judicial remedies.
                                                3 In an attempt to distinguish the case of Briggs v.

II   City of Rolling Hills Estates, 40 Cal.App.4t 637 (1997), Plaintiff asks the Court “[w]hat factfinding

12   has there been?” [Opp. at 19:13.] The simple answer is that both of the administrative proceedings

13   initiated by Plaintiffin connection with the City’s refusal to issue an unlawful permit [see City’s MPA

14   at pp. 7-8] resulted in findings of fact. [JUN at Exh. 4.] Plaintiff is bound by those findings.

15           Plaintiff further attempts to defeat the City’s argument by arguing that “[a] civil rights plaintiff

16   has no obligation to exhaust administrative remedies.” [Opp. at 17-19.] This argument once again

17   misses the point, argued at length in the City’s moving papers, that Plaintiffs failure to exhaust state

18   judicial remedies collaterally estops the § 1983 claims he now asserts.

19   v       ANY CLAIMS BASED ON THE CITY’S REFUSAL TO ISSUE A PERMIT ARE
             UNRIPE FOR ADJUDICATION.
20

21           Plaintiffs response to the City’s argument that some or all of his claims are unripe is to

22   essentially deny them without authority. Instead, the opposition insinuates that the DNA does not

23   like Plaintiff because he is a “different type of person,” and suggests that this is not “an abstract

24




               Plaintiffs argument at page 19 of the opposition that the City asserts the 90-day statute of
25   limitations as a bar to the instant action is pure obfuscation. The City’s argument, set forth at pages
76   19-20 of the moving papers (in the context of its position that res judicata and collateral estoppel bar
     Plaintiffs claims), is simply that Plaintiff has failed to exhaust judicial remedies as required by
     Briggs, supra, 40 Cal.App.4t at 640, and is prohibited by the applicable state statute[s] of limitations
27   from doing so now.
28
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     1    disagreement over administrative policy[.[]” [Opp. at 20:18-24.] It is telling that counsel careful
                                                                                                              ly
     2    avoids asserting that the City’s refusal to issue an invalid permit was motivated by any racial animus

     3    (against a Caucasian developer), or by any other animus related to Plaintiffs membership in a

     4    cognizable class. Because Plaintiff fails to respond meaningfully to the City’s argument, it should
                                                                                                              be
     5    deemed conceded. CfFed. Rule Civ. Proc. §56(e)(2).

          VI.       PLAINTIFF IS NOT ENTITLED TO LEAVE OF COURT TO SUPPLEMENT THE
     7              COMPLAINT.

     8             Finally, the opposition brief fails to respond at all to the City’s argument that the supplemental
  9       allegations added to Plaintiffs Amended Complaint fail to state a claim for which relief can be
 10       granted. [City MPA at p. 23.] Once again, this failure to respond is a tacit concession of the

 11      argument. Moreover, Plaintiff ignores the case of Matsushita Elec. Indus. Co. Ltd. v. CMC
12       Magnetics Adding, 2007 WL 127997 (N.D. Cal. 2007), and thus fails to distinguish its holdings.

13       There, as here, a party sought leave to file a supplemental claim that did not arise from the
                                                                                                       same
14       conduct that formed the basis for the underlying suit. Plaintiff notes that the case of Planned
15       Parenthood ofSouthern Arizona v. Neefr 130 F.3d 400           (
                                                                       t
                                                                       9 h
                                                                             Cir. 1997) was decided, in part, based on
16       the fact that the proposed new cause of action was “a challenge to an entirely different state statute”

17       [Opp. at 21:10-13], but fails to explain why Plaintiffs own claim arising under a separate legal theory
18       (violation of the First Amendment) survives this same analysis. Here, as in Marsushida, 2007
                                                                                                      WL
19       127997 at    *   4, the proposed supplemental claim would not promote a quick or economical resolution
20       to this case.     Thus here, as there, Rule 1 5(d) bars the proposed amendment. Plaintiffs request is
21       nothing more than a “litigation gimmick to invent an artificial [claim] for tactical advantage” (here,
                                                                                                                to
22       avoid dismissal of his case) Id. at *6, and his request for leave to supplement the complaint should
                                                                                                              be
23       denied.
24                                                      CONCLUSION

25                 Plaintiff concedes that, in order to state a claim under § 1983, he must establish that the City’s

26       conduct—refusal to issue a permit that would have violated the Planning and Building Codes—

27       “shocks the conscience.” While there may be cases in the land use context where governmental

28       conduct is “so egregious” that it rises to a Constitutional level, this is surely not one of them.
                                                                                                            For all
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      I    of the reasons set forth above and in the City’s moving papers, the allegations of the Amend
                                                                                                        ed
     7     Complaint and those facts of which this Court may take judicial notice demonstrate that the Amend
                                                                                                             ed
     3     Complaint fails to state facts sufficient to constitute a cause of action, that the Court lacks
                                                                                                           jurisdiction
     4     over such claims and that the claims are untimely as a matter of law. As a result, this Court
                                                                                                         should
     5     grant the motion to dismiss with prejudice, and deny Plaintiff leave to amend.

     6     Dated: February 12, 2008
     7                                                      DENNIS 3. HERRERA
                                                            City Attorney
     8                                                      KRISTEN A. JENSEN
                                                            THOMAS S. LAKRITZ
     9                                                      Deputy City Attorneys

 10

 11                                                   By:
                                                                             SEN
 12
                                                            ATTORNEYS FOR DEFENDANT
13
                                                            CITY AND COUNTY OF SAN FRANCISCO
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